Case 1:09-cr-00014-JRH-WLB Document 43 Filed 03/02/09 Page 1 of 5

                                                                                        LED
                                                                                  !!I' .fl: !JT
                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF (iEORGIA2O 9 EEB3O AM 8:38

                                    AUGUSTA DIVISION                       ,L
                                                                                           OF G..
UNITED STATES OF AMERICA                         )
                                                 )
                 V.                              )       CR 109-014
                                                 )
VICKIE PARKS SHEPPARD                            )


                                           ORDER


         Defendant Vickie Parks Sheppard filed a "Motion to Extend Time for Filing Pretrial

 Motions," in which she seeks an extension of the pre-trial motions filing deadline set at the

February 12, 2009 arraignment in this case. (Doc.. no. 27). The Court finds, as a matter of

 fact and law, that the motion is not for the purpose of delay, but in the furtherance ofjustice,

 and to protect the defendant's right to a fair trial. The Court also finds that the motion is for

 the purpose of allowing reasonable time necessary, assuming the exercise of due diligence,

 for the effective preparation of defense counsel in that counsel needs additional time to

prepare the appropriate defense motions. Therefore, pursuant to 18 U.S.C. § 3161 (h)(7), and

 on the basis of the Court's finding that the ends ofjustice served by granting the motion for

 an extension outweigh the best interests of the public and the defendant in a speedy trial, the

motion is GRANTED. The defendant's pre-trial motions must be filed by Thursday.

March 5, 2009. The period of delay resulting from this extension is excluded in computing

the time within which the trial of this matter may commence.

        Along with the request for extension of time, Defendant also filed some of her pre-

trial motions. One of these motions is a 'Preliminary Motion to Suppress," in which

Defendant requests that an order be entered suppressing:
Case 1:09-cr-00014-JRH-WLB Document 43 Filed 03/02/09 Page 2 of 5



        all physical evidence seized in violation of this Defendant's Fourth or Fifth
        Amendment rights, as well as any statements made by this Defendant to
        Government agents and any oral or wire communications intercepted through
        wiretap or other means of electronic surveillance in contravention of the
        Fourth and Fifth Amendments to the United States Constitution and 18
        U.S.C. § 2510et seq.

 (Doc. no. 29, P. 1) . ! The motion also includes a request that the Court hold an evidentiary

hearing on the motion.

        The decision to grant or deny a request for an evidentiary hearing on a motion to

 suppress is left to the Court's discretion. United States v. Coo per, 203 F,3d 1279, 1285 (11th

 Cir. 2000); United States v. Sneed, 732 F.2d 886, 888 (11th Cir. 1984) (per curiam). "[A]

criminal defendant has no absolute or presumptive right to insist that the district court take

testimony on every motion." United States v. Lewis, 40 F.3d 1325, 1332 (1st Cir. 1994)

(affirming denial of a motion for evidentiary hearing on motion to suppress) (citation

omitted).

        A district court should grant a request for an evidentiary hearing when the moving

papers, including the affidavits, are "sufficiently definite, specific, detailed, and

nonconjectural, to enable the court to conclude that a substantial claim is presented." United

States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985) (quoting United States v. Poe,

462 F.2d 195, 197 (5th Cir. 1972)). However, a district court is not compelled to grant an

evidentiary hearing when a defendant promises to allege at a hearing what she has failed to

allege in her motion papers. Coo per, 203 F.3d at 1285. Thus, the burden is upon Defendant


         1 Notably, although there is no factual support for the motion, it requests that Defendant
be allowed to supplement the motion at an unspecified later date. However, a motion may not
be filed outside the deadlines set by this Court at arraignment except by leave of Court upon
a showing of cause. United States v. Smith, 918 F.2d 1501, 1509 (11th Cir. 1990); Fed. R.
Crim. P. 12(c), (e).
Case 1:09-cr-00014-JRH-WLB Document 43 Filed 03/02/09 Page 3 of 5



to allege facts that would, if proven true, entitle her to relief. Lewis, 40 F.3d at 1332. This

Court has a Local Rule that addresses the proper means by which to allege those facts:

        Every factual assertion in a motion, response, or brief shall be supported by
        a citation to the pertinent page in the existing record or in any affidavit,
        discovery material, or other evidence filed with the motion. Where
        allegations of fact are relied upon that are not supported by the existing
        record, supporting affidavits shall be submitted.

Loc. Crirn. R. 12.1.

        Here, Defendant has provided absolutely no evidentiary detail to support any type of

claim for suppression. In sum, the motion to suppress, filed without a supporting affidavit

from Defendant and without any evidentiary support, does not satisfy her burden of coming

forward with allegations that are sufficiently definite, specific, detailed, and nonconjectural

to cause the Court to conclude that a substantial claim exists.

        Accordingly, the Court finds no reason to schedule this matter for a hearing unless

and until Defendant files an appropriate affidavit or citations to record evidence in support

of her motion to suppress. If Defendant intends to file a motion to suppress in compliance

with Loc. Crim. R. 12.1, she should do so no later than Thursda y March 5. 2009. Any

supporting affidavit should set forth the specific factual allegations upon which Defendant

bases her contention that her rights were violated, and if the alleged violations involved a

search, that she had a legitimate expectation of privacy in the property searched. Rawlings

v. Kentucky, 448 U.S. 98, 104-05 (1980) (citing Rakas v. Illinois, 439 U.S. 128, 131 n.1

(1978)). To establish a legitimate expectation ofprivacy, "a defendant must demonstrate that

[s]he personally has an expectation of privacy in the place searched, and that [her]

expectation is reasonable," that is, recognized and permitted by society. Minnesota v. Carter,

525 U.S. 83, 88 (1998). If a particularized motion is not filed by March 5th, the preliminary

                                               3
Case 1:09-cr-00014-JRH-WLB Document 43 Filed 03/02/09 Page 4 of 5



motion to suppress will be treated as a nullity, and the cause requirement for filing untimely

motions set forth in note one of this Order shall apply.

        Defendant also filed a motion to preserve evidence, including rough notes of agents.

(Doe. no. 33). Defendant does not demand disclosure or production of this evidence, merely

preservation. While this material is not generally discoverable, it may later during trial have

probative value for purposes of impeachment. The small inconvenience to the government

is outweighed by Defendant's interest in a fair trial and the possibility that among the

evidence there could be an item later needed for use at trial. The motion is GRANTED.

The government is required to preserve all evidence in this case.

        Lastly, Defendant filed a "Motion to Inspect, Examine, and Test Physical Evidence"

(Doc. no. 34). This motion is GRANTED, subject to the following terms and conditions:

        (a) Counsel for Defendant must determine which items of physical evidence he

wishes to have tested or examined by experts of his own choosing and submit a list of such

items to the government;

        (b) Counsel for Defendant shall confer with the government's attorney to work out

the availability of substances or materials to be tested;

        (c) Any testing by experts on behalf ofDefendant must be completed within fifteen

(15) days of the date of this Order;

       (d) A representative of the government qualified in the field of such testing shall be

present to observe the testing procedures and technique used by Defendant's experts. In

addition, testing shall not be performed without the presence of the government's technical

observer; and



                                              4
Case 1:09-cr-00014-JRH-WLB Document 43 Filed 03/02/09 Page 5 of 5



        (e) A copy of the test or laboratory results obtained by Defendant's experts shall be

served upon the government's representative not later than five (5) days after conducting the

actual test.

        SO ORDERED thisday of March, 2009, at Augusta, Georgia.




                                              W. LEON WJFIELD '
                                              UNITED STAES MAGI9kATE JUDGE
